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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO


 Irmgard Aimee Pagán-Rivera

       Plaintiff

     v.                                         CIVIL NO. 24-1457(RAM)

 Luma Energy, LLC., et al

       Defendants


                              JUDGMENT

     In accordance with the Order entered today (Docket No. 28),

judgment is entered DISMISSING this action without prejudice.

      This case is now closed for statistical purposes.

      IT IS SO ORDERED.

      In San Juan, Puerto Rico, this 4th day of March 2025.

                                       S/ RAÚL M. ARIAS-MARXUACH
                                       United States District Judge
